                                  Case 3:22-cv-00293-JSC Document 16 Filed 04/21/22 Page 1 of 4



                        1   DARCI E. BURRELL, State Bar No. 180467
                            darci@levyvinick.com
                        2   LETICIA CHAVEZ, State Bar No. 333792
                            letty@levyvinick.com
                        3   LEVY VINICK BURRELL HYAMS LLP
                            180 Grand Avenue, Suite 1300
                        4   Oakland, CA 94612
                            Tel.: (510) 318-7700
                        5   Fax: (510) 318-7701

                        6   Attorneys for Plaintiff ALLISON HOKOANA

                        7
                            GREGORY G. ISKANDER, Bar No. 200215
                        8   giskander@littler.com
                            YESENIA GARCIA PEREZ, Bar No. 264880
                        9   ygarciaperez@littler.com
                            LITTLER MENDELSON, P.C.
                     10     Treat Towers
                            1255 Treat Boulevard, Suite 600
                     11     Walnut Creek, California 94597
                            Telephone:    925.932.2468
                     12     Fax No.:      925.946.9809

                     13     Attorneys for Defendant
                            REPUBLIC SERVICES, INC.
                     14

                     15
                                                          UNITED STATES DISTRICT COURT
                     16
                                                         NORTHERN DISTRICT OF CALIFORNIA
                     17

                     18
                            ALLISON HOKOANA,                              Case No. 22-CV-00293-JSC
                     19
                                            Plaintiff,                    STIPULATION TO AMEND
                     20                                                   COMPLAINT TO SUBSTITUE ALLIED
                                   v.                                     WASTE SERVICES OF NORTH
                     21                                                   AMERICA, LLC IN PLACE OF
                            REPUBLIC SERVICES, INC. and DOES 1-10,        REPUBLIC SERVICES, INC.;
                     22     inclusive,                                    [PROPOSED] ORDER

                     23                     Defendants.                   Complaint filed: November 2, 2021
                                                                          (Alameda County Superior Court Case No.:
                     24                                                   21CV001519)

                     25

                     26

                     27     STIPULATION TO AMEND COMPLAINT TO
                            SUBSTITUTE ALLIED WASTE SERVICES OF
                     28     NORTH AMERICA, LLC IN PLACE OF
                                                                                          CASE NO. 22-CV-00293-JSC
LITTLER MEND ELSO N, P.C.   REPUBLIC SERVICES, INC.; [PROPOSED]
        Treat Towers
    1255 Treat Boulev ard
          Suite 600
                            ORDER
   Walnut Creek, CA 94597
        925.932.2468
                                  Case 3:22-cv-00293-JSC Document 16 Filed 04/21/22 Page 2 of 4



                        1                    WHEREAS, Plaintiff has named Republic Services, Inc. as a Defendant in this action;

                        2                    WHEREAS, Defendant has represented to Plaintiff that Plaintiff’s actual employer is

                        3   Allied Waste Services of North America, LLC;

                        4                    IT IS HEREBY STIPULATED by and between the parties, through their respective

                        5   counsel, that:

                        6                    (1)    The corporate Defendant Republic Services, Inc., is dismissed without

                        7   prejudice from this action and that Allied Waste Services of North America, LLC will be substituted

                        8   as a named defendant in an amended complaint;

                        9                    (2)    Each party will bear their own costs and fees related to the dismissed Defendant;

                     10                      (3)    Republic Services, Inc. agrees that in the event it is deemed reasonable and

                     11     necessary to reinstate Republic Services, Inc. as a Defendant in this action, it will not assert the FEHA

                     12     administrative claim filing deadlines, or the statute of limitations as a defense solely as a result of the

                     13     dismissal and reinstatement of Republic Services, Inc. as a Defendant as set forth herein;

                     14                      (4)    The fact of the dismissal of Republic Services, Inc., will not operate as a

                     15     judgment on the merits and will have neither the effect of res judicata nor collateral estoppel as to the

                     16     liability of the remaining Defendant(s);

                     17                      (5)    Allied Waste Services of North America, LLC will respond appropriately to the

                     18     amended Complaint in this matter.

                     19

                     20

                     21

                     22

                     23

                     24

                     25

                     26

                     27     STIPULATION TO AMEND COMPLAINT TO
                            SUBSTITUTE ALLIED WASTE SERVICES OF
                     28     NORTH AMERICA, LLC IN PLACE OF
                                                                               2                        CASE NO. 22-CV-00293-JSC
LITTLER MEND ELSO N, P.C.   REPUBLIC SERVICES, INC.; [PROPOSED]
        Treat Towers
    1255 Treat Boulev ard
          Suite 600
                            ORDER
   Walnut Creek, CA 94597
        925.932.2468
                                  Case 3:22-cv-00293-JSC Document 16 Filed 04/21/22 Page 3 of 4



                        1   Dated: April 19, 2022
                                                                       LEVY VINICK BURRELL HYAMS LLP
                        2

                        3
                                                                       /s/ Darci E. Burrell
                        4                                              DARCI E. BURRELL
                        5
                                                                       Attorneys for Plaintiff
                        6                                              ALLISON HOKOANA
                        7

                        8   Dated: April 21, 2022
                                                                       LITTLER MENDELSON, P.C.
                        9

                     10
                                                                       /s/ Yesenia Garcia Perez
                     11
                                                                       GREGORY G. ISKANDER
                     12                                                YESENIA GARCIA PEREZ

                     13                                                Attorneys for Defendant
                                                                       REPUBLIC SERVICES, INC.
                     14

                     15

                     16

                     17

                     18

                     19

                     20

                     21

                     22

                     23

                     24

                     25

                     26

                     27     STIPULATION TO AMEND COMPLAINT TO
                            SUBSTITUTE ALLIED WASTE SERVICES OF
                     28     NORTH AMERICA, LLC IN PLACE OF
                                                                   3                      CASE NO. 22-CV-00293-JSC
LITTLER MEND ELSO N, P.C.   REPUBLIC SERVICES, INC.; [PROPOSED]
        Treat Towers
    1255 Treat Boulev ard
          Suite 600
                            ORDER
   Walnut Creek, CA 94597
        925.932.2468
                                     Case 3:22-cv-00293-JSC Document 16 Filed 04/21/22 Page 4 of 4



                        1                                     [PROPOSED] ORDER
                        2
                            IT IS SO ORDERED.
                        3

                        4

                        5   Dated: ___________________, 2022          HON. JACQUELINE SCOTT CORLEY
                                                                      UNITED STATES DISTRICT JUDGE
                        6

                        7

                        8

                        9

                     10

                     11

                     12

                     13

                     14

                     15

                     16

                     17

                     18

                     19

                     20

                     21

                     22

                     23

                     24

                     25      4880-8243-7916.1 / 068119-2305

                     26

                     27     STIPULATION TO AMEND COMPLAINT TO
                            SUBSTITUTE ALLIED WASTE SERVICES OF
                     28     NORTH AMERICA, LLC IN PLACE OF
                                                                      4                 CASE NO. 22-CV-00293-JSC
LITTLER MEND ELSO N, P.C.   REPUBLIC SERVICES, INC.; [PROPOSED]
        Treat Towers
    1255 Treat Boulev ard
          Suite 600
                            ORDER
   Walnut Creek, CA 94597
        925.932.2468
